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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 22-cr-00012-WJM

 UNITED STATES OF AMERICA,

              Plaintiff,

 v.

 1.    LAWRENCE RUDOLPH,
 2.    LORI MILLIRON,

              Defendants.


                            FINAL ORDER OF FORFEITURE


       THIS MATTER comes before the Court on the United States' Motion for Final

 Order of Forfeiture. The Court having reviewed said Motion FINDS:

       THAT the United States commenced this action pursuant to 18 U.S.C. §

 981(a)(1)(C) and 28 U.S.C. § 2461(c), and Rule 32.2 (b), as set forth in the First

 Superseding Indictment returned on February 9, 2022 (Doc. 53);

       THAT based on the evidence admitted during trial a jury on August 1, 2022,

 found Defendant Lawrence Rudolph guilty of Counts One and Two of the Superseding

 Indictment, which provides a factual basis and cause to issue a forfeiture order under 18

 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c). The Court entered a Preliminary Order




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 of Forfeiture on May 17, 2023, forfeiting to the United States any and all of defendant

 Lawrence Rudolph’s right, title and interest in the following assets:

        a.     Real Property located at 7000 N. 39th Place, Paradise Valley, Arizona.

               Upon the Court’s Order of forfeiture, the United States will sell the property,

               and after fees and expenses, will forfeit 58.74% of the proceeds.

        b.     Real Property located at 103 Morningside Drive, Cranberry Township,

               Pennsylvania. Upon the Court’s Order of forfeiture, the United States will

               sell the property, and after fees and expenses, will forfeit 50.55% of the

               proceeds.

        c.     All funds seized from Bank of New York Mellon account #10532701000, in

               the name of Lawrence P. Rudolph Trust. Upon the Court’s Order of

               forfeiture, the United States will take full title and ownership of all funds

               seized from Bank of New York Mellon account #10532701000.

        d.     $751,776.28 in United States currency seized from Vanguard account

               #0540-88150069515, in the name of Lawrence P. Rudolph and Bianca T.

               Rudolph TR- Rudolph Trust. Upon the Court’s Order of forfeiture, the United

               States will take full title and ownership of the $751,776.28 in United States

               currency seized from Vanguard account #0540-88150069515.

        e.     All funds seized from held in Vanguard account #0585-88150069515, in the

               name of Lawrence P. Rudolph and Bianca T. Rudolph TR- Rudolph Trust.




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               Upon the Court’s Order of forfeiture, the United States will take full title and

               ownership of all funds seized from Vanguard account #5085-88150069515.

        f.     2018 Aston Martin DB-11, VIN SCFRMFAV5JGL03309. Upon the Court’s

               Order of forfeiture, the United States will sell the vehicle, and after fees and

               expenses, distribute the remaining proceeds based on the percentage of

               tainted funds used to purchase the vehicle to the United States and the

               percentage of untainted funds to the appropriate person/representative.

        g.     2017 Bentley Bentayga, VIN SJAAC2ZV2HC014709. Upon the Court’s

               Order of forfeiture, the United States will sell the vehicle, and after fees and

               expenses, distribute the remaining proceeds based on the percentage of

               tainted funds used to purchase the vehicle to the United States and the

               percentage of untainted funds to the appropriate person/representative.

               (Doc. 354).

        THAT on June 16, 2023, counsel for Petitioners Julian and AnaBianca Rudolph

 jointly filed a Verified Petition for Adjudication of Interests in Property Ordered Forfeited

 (Doc. 367) and a Memorandum of Law in Support of Verified Petition for Adjudication of

 Interests in Property Ordered Forfeited. (Doc. 368);




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        THAT on November 17, 2023, the United States filed an Amended Motion to

 Dismiss Verified Petition for Adjudication of Interests in Property Ordered Forfeited.

 (Doc. 463);

        THAT on April 12, 2024, the Court issued an Order Granting the Government’s

 Amended Motion to Dismiss Verified Petition and Dismissing Petitioners’ Verified

 Petition for Adjudication of Interests in Property Ordered Forfeited. (Doc. 467);

        THAT all known interested parties were provided an opportunity to respond and

 that publication has been effected as required by 21 U.S.C. § 853(n);

        THAT the United States properly published notice of the forfeiture via an official

 government internet website for thirty consecutive days, from May 20, 2023, to June 18,

 2023, consistent with Federal Rule of Criminal Procedure 32.2(b)(6)(C);

        THAT Notice of the forfeiture was sent to all known interested third parties.

 Specifically, the Government sent notice to the following:

               a. On June 29, 2023, the government sent, via certified and First Class

                  Mail, to Camelback Consulting/Marketing, LLC, 7275 N. Scottsdale

                  Road, G-1021, Scottsdale, AZ 85253. The Notice sent by First Class

                  Mail and certified mail have been returned as undeliverable. (Doc.

                  377).

               b. On June 29, 2023, the government sent, via certified and First Class

                  Mail, to BNY Mellon, N.A., Mortgage Ops/Post-Closing, 201




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                Washington Street, 8th Floor, 024-0083, Boston, MA 02108. The Notice

                sent by First Class Mail and Certified Mail have not been returned as

                undeliverable. (Doc. 377).

             c. On June 29, 2023, the government sent, via certified and First Class

                Mail, to VPR Builders LLC, Limited Liability, 8408 E. Shea Blvd.

                #D100, Scottsdale, AZ 85260-6660. The Notice sent by First Class

                Mail and Certified Mail have been returned as undeliverable. (Doc.

                377).

             d. On June 29, 2023, the government sent, via certified and First Class

                Mail, to The Vanguard Group, Inc., Attn: Office of the General Counsel

                – M35; 100 Vanguard Blvd.; Malvera, PA 19355. The Notice sent by

                First Class Mail and Certified Mail have not been returned as

                undeliverable. (Doc. 377).

             e. On June 29, 2023, the government sent, via certified and First Class

                Mail, to The Rudolph Trust dated April 25, 2016, 7000 N 39th Place,

                Paradise Valley, AZ 85253. The Notice sent by First Class Mail and

                Certified Mail have been returned as undeliverable. (Doc. 377).

             f. On June 29, 2023, the government sent, via certified and First Class

                Mail, to Three Rivers Dental Management Systems LLC, 103

                Morningside Drive, Cranberry Township, PA 16066. The Notice sent by




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                  First Class Mail and Certified Mail have not been returned as

                  undeliverable. (Doc. 377).

             g. On June 29, 2023, the government sent, via certified and First Class

                  Mail, to Farmers National Bank of Emlenton, 612 Main Street, P.O.

                  Drawer D, Emlenton, PA 16373. The Notice sent by First Class Mail

                  and Certified Mail have not been returned as undeliverable. (Doc. 377).

             h. On June 29, 2023, the government sent, via certified and First Class

                  Mail, to Dovenmuehle Mortgage Inc., 1 Corporate Drive, Suite 360,

                  Lake Zurich, IL 60047-8945. The Notice sent by First Class Mail and

                  Certified Mail have not been returned as undeliverable. (Doc. 377).

             i.   On June 29, 2023, the government sent, via certified and First Class

                  Mail, to The Rudolph Trust dated April 25, 2016, c/o Lawrence

                  Rudolph, Prisoner ID #7907-509, Nevada Southern Detention Center,

                  2190 E. Mesquite Ave., Pahrump, NV 89060. The Notice sent by First

                  Class Mail and Certified Mail have been returned as undeliverable.

                  (Doc. 377).

             j.   On July 13, 2023, the government sent, via certified and First Class

                  Mail, to Eddie Jauregui, Holland & Knight LLP, 400 South Hope Street,

                  8th Floor, Los Angeles, CA 90071. The Notice sent by First Class Mail

                  and Certified Mail have not been returned as undeliverable. (Doc. 383).




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                k. On July 13, 2023, the government sent, via certified and First Class

                     Mail, to John R. O’Keefe, Jr., Metz Lewis Brodman Must O’Keefe LLC,

                     535 Smithfield Street, Suite 800, Pittsburgh, Pennsylvania 15222. The

                     Notice sent by First Class Mail and Certified Mail have not been

                     returned as undeliverable. (Doc. 383).

         THAT the time for any other third-party to file a petition expired on August 12,

 2023;

         THAT, as of April 15, 2024, no further Petition for Ancillary Hearing has been

 filed by any other petitioner;

         THAT it further appears there is cause to issue a forfeiture order under 18 U.S.C.

 § 981(a)(1)(C) and 28 U.S.C. § 2461(c), and Rule 32.2(b) of the Federal Rules of

 Criminal Procedure.

         NOW, THEREFORE, IT IS ORDERED, DECREED, AND ADJUDGED:

         THAT judgment of forfeiture of the assets set forth below:

                a.      Real Property located at 7000 N. 39th Place, Paradise Valley,

                        Arizona. Upon the Court’s Order of forfeiture, the United States will

                        sell the property, and after fees and expenses, will forfeit 58.74% of

                        the net sales proceeds;

                b.      Real Property located at 103 Morningside Drive, Cranberry

                        Township, Pennsylvania. Upon the Court’s Order of forfeiture, the




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                   United States will sell the property, and after fees and expenses,

                   will forfeit 50.55% of the net sales proceeds;

             c.    All funds seized from Bank of New York Mellon account

                   #10532701000, in the name of Lawrence P. Rudolph Trust. Upon

                   the Court’s Order of forfeiture, the United States will take full title

                   and ownership of all funds seized from Bank of New York Mellon

                   account #10532701000;

             d.    All funds up to $751,776.28 in United States currency seized from

                   Vanguard account #0540-88150069515, in the name of Lawrence

                   P. Rudolph and Bianca T. Rudolph TR- Rudolph Trust. Upon the

                   Court’s Order of forfeiture, the United States will take full title and

                   ownership of the $751,776.28 in United States currency seized

                   from Vanguard account #0540-88150069515;

             e.    All funds up to $527,736.24 held in Vanguard account #0585-

                   88150069515, in the name of Lawrence P. Rudolph and Bianca T.

                   Rudolph TR- Rudolph Trust. Upon the Court’s Order of forfeiture,

                   the United States will take full title and ownership of all funds seized

                   from Vanguard account #5085-88150069515;

             f.    2018 Aston Martin DB-11, VIN SCFRMFAV5JGL03309. Upon the

                   Court’s Order of forfeiture, the United States will sell the vehicle,




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                     and after fees and expenses, will forfeit 52% of the net sales; and

              g.     2017 Bentley Bentayga, VIN SJAAC2ZV2HC014709. Upon the

                     Court’s Order of forfeiture, the United States will sell the vehicle,

                     and after fees and expenses, will forfeit 26.31% of the net sales;

 shall enter in favor of the United States pursuant to 18 U.S.C. § 981(a)(1)(C) and 28

 U.S.C. § 2461(c), and Rule 32.2(b) of the Federal Rules of Criminal Procedure, free

 from the claims of any other party, and

       THAT the United States shall have full and legal title to the above listed assets

 and may dispose of it in accordance with law.

              SO ORDERED this _________ day of _____________________, 2024.


                                   BY THE COURT:


                                   _________________________________
                                   WILLIAM J. MARTINEZ
                                   Senior United States District Judge




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